




Dismissed and Memorandum Opinion filed May 24, 2007








Dismissed
and Memorandum Opinion filed May 24, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00298-CR

____________

&nbsp;

JACK WADE BODIFORD, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
174th District Court

Harris County, Texas

Trial Court Cause No. 1109680

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to credit card abuse.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant on
March 28, 2007, to confinement for two years in the Institutional Division of
the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed May 24,
2007.

Panel consists of Chief Justice Hedges and Justices
Hudson and Guzman. 

Do Not Publish C Tex. R. App. P.
47.2(b).





